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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                    CASE NO. 0:24-cv-60382-LEIBOWITZ/AUGUSTIN-BIRCH


   JESSICA PIAFSKY,

             Plaintiff,

   v.

   MB HOME IMPROVEMENTS, INC., et al. ,

           Defendants.
   ______________________________________/

                                                 ORDER

         THIS CAUSE is before the Court on Plaintiffs’ Unopposed Motion to Extend Pre-

  Trial/Trial Deadlines (the “Motion”) [ECF No. 84], filed on May 2, 2025. Upon due consideration,

  it is hereby ORDERED AND ADJUDGED that the Motion [ECF No. 84] is GRANTED. No

  further extensions will be granted.

         THIS CASE is set for trial during the Court’s two-week trial calendar beginning March 9,

  2026. Counsel for all parties shall also appear at a calendar call at 2:00 p.m. on March 3, 2026. Unless

  instructed otherwise by subsequent order, the trial and all other proceedings in this case shall be

  conducted in Courtroom 202A at the U.S. Federal Building and Courthouse, 299 East Broward

  Boulevard, Fort Lauderdale, Florida 33301. The parties shall adhere to the following schedule:

         Expired. The parties shall select a mediator in accordance with Local Rule 16.2; schedule a
         time, date, and place for mediation; and jointly file a proposed order scheduling mediation
         in the form specified on the Court’s website, http://www.flsd.uscourts.gov. If the parties
         cannot agree on a mediator, they shall notify the Clerk in writing as soon as possible, and the
         Clerk shall designate a certified mediator on a blind rotation basis. Counsel for all parties shall
         familiarize themselves with and adhere to all provisions of Local Rule 16.2. Within seven (7)
         days of mediation, the parties are required to file a mediation report with the Court. In
         accordance with the procedures outlined in the CM/ECF Administrative Procedures, the
         proposed order must be emailed to leibowitz@flsd.uscourts.gov in Word format.

         Expired. The parties shall file all motions to amend pleadings or to join parties.
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          August 4, 2025. The parties shall exchange expert witness summaries or reports.

          August 18, 2025. The parties shall exchange rebuttal expert witness summaries or reports.

          September 2, 2025. All discovery, including expert discovery, shall be completed.

          September 30, 2025. The parties shall file all pre-trial motions, including motions for
          summary judgment, and Daubert motions. Each party is limited to filing one Daubert motion.
          If a party cannot address all evidentiary issues in a 20-page memorandum, it must petition
          the Court for leave to include additional pages. The parties are reminded that Daubert
          motions must contain the Local Rule 7.1(a)(3) certification.

          October 31, 2025. The parties must have completed mediation and filed a mediation report.

          December 22, 2025. The parties shall submit all trial preparation materials including, but not
          limited to, a joint pre-trial stipulation of all undisputed facts, proposed jury instructions and
          verdict form, witness lists, exhibit lists, objections to deposition designations, and shall file any
          motions in limine (other than Daubert motions). Each party is limited to filing one motion in
          limine, which may not, without leave of Court, exceed the page limits allowed by the Rules.
          The parties are reminded that motions in limine must contain the Local Rule 7.1(a)(3)
          certification.

          Referral to Magistrate Judge. Pursuant to 28 U.S.C. § 636 and this District’s Magistrate

  Judge Rules, any and all discovery matters are hereby referred to United States Magistrate Judge

  Panyotta D. Augustin-Birch. Furthermore, in accordance with 28 U.S.C. § 636(c)(1), the parties

  may consent to trial and final disposition by Magistrate Judge Augustin-Birch. The deadline for

  submitting a consent isSeptember 30, 2025.

          Good Faith Conferral. For the purposes of compliance with the good faith conferral

  requirement of Local Rule 7.1(a)(3), the parties are instructed that a single e-mail exchange with

  opposing counsel shall not constitute a good faith effort under the Local Rules. The parties are

  instructed to confer either telephonically or in person.

          Discovery. The parties may stipulate to extend the time to answer interrogatories, produce

  documents, and answer requests for admissions. The parties shall not file with the Court notices or

  motions memorializing any such stipulation unless the stipulation interferes with the deadlines set

  forth above. Stipulations that would so interfere may be entered into only with the Court’s approval.
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  See FED. R. CIV. P. 29. In addition to the documents enumerated in Local Rule 26.1(b), the parties

  shall not file notices of deposition with the Court. Strict compliance with the Local Rules is expected,

  particularly with respect to motions practice. See S.D. FLA. L.R. 7.1.

           Discovery Disputes. The parties shall not file any written discovery motions, including

  motions to compel, for protective order, or for sanctions, without the consent of the Magistrate

  Judge. Counsel must actually confer and engage in reasonable compromise in a genuine effort to

  resolve their discovery disputes before seeking the Court’s intervention. The Court may impose

  sanctions, monetary or otherwise, if it determines that a party has improperly sought or withheld

  discoverable material in bad faith. If, after conferring, the parties are unable to resolve their discovery

  dispute without Court intervention, they shall not file written motions. Rather, the “moving party”

  shall follow Magistrate Judge Augustin-Birch’s standard discovery procedures, which can be found

  through the following link: Standing Discovery Order.pdf (uscourts.gov). 1 Should the parties have

  any questions regarding the resolution of discovery issues, counsel should contact the chambers of

  Magistrate Judge Augustin-Birch at Augustin-Birch@flsd.uscourts.gov.

           Summary Judgment. Parties are required to comply with Local Rule 56.1. If a party fails to

  comply with any of the requirements of the Local Rules, the Court may strike the deficient filing and

  require immediate compliance, grant an opposing party relief, or enter any other sanction the Court

  deems appropriate.

           A motion for summary judgment—and the responses in opposition—must be accompanied

  by a Statement of Material Facts. Each material fact must be supported by pincites to the relevant parts

  of record materials, such as depositions, answers to interrogatories, admissions, and affidavits. The

  pincites shall reference specific pages (and, if appropriate, line numbers as well) of the exhibits,

  designate the number and title of each exhibit, and provide the exhibit’s ECF number. When a


  1
      https://www.flsd.uscourts.gov/sites/flsd/files/Standing%20Discovery%20Order.pdf
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  material fact requires specific evidentiary support, a general citation to an exhibit without a pincite

  (e.g., “Smith Affidavit” or “Jones Deposition” or “Exhibit A”) is non-compliant and will be stricken or

  disregarded.

          All material facts in any party’s Statement of Material Facts may be deemed admitted unless

  controverted by the other party’s Statement of Material Facts, provided that: (i) the Court finds that

  the material fact at issue is supported by properly cited record evidence; and (ii) no other exception under FED.

  R. CIV. P. 56 applies.

          In addition to filing a Statement of Material Facts, as required under Local Rule

  56.1(a), the parties shall also file a Joint Statement of Undisputed Facts within seven (7) days

  of any motion for summary judgment being fully briefed. The Joint Statement of Undisputed

  Facts must include all relevant facts about which there is no material dispute. Each undisputed fact

  shall be individually numbered and separated by paragraph. This filing is limited to 10 pages and does

  not otherwise change the parties’ obligation to comply with Local Rule 56.1.

          Voir Dire Questions. The Court will require each prospective juror to complete a brief

  written questionnaire prior to the commencement of questioning in the courtroom. Any party may

  submit up to five proposed, case-specific questions to be included in the questionnaire. The proposed

  questions must be filed with the Court at the time of the filing of the joint pretrial stipulation and must

  also be submitted to the Court, in MS Word format, via e-mail to leibowitz@flsd.uscourts.gov. The

  Court will begin voir dire by questioning the venire individually and as a whole and will permit limited

  attorney-directed voir dire thereafter. The Court will not permit the backstriking of jurors.

          Jury Instructions and Verdict Form. Although they need not agree on each proposed

  instruction, the parties shall submit their proposed jury instructions and verdict form jointly. Where

  the parties do not agree on a proposed instruction, that instruction shall be set forth in bold type.

  Instructions proposed only by a plaintiff shall be underlined. Instructions proposed only by a
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  defendant shall be italicized. Every instruction must be supported by citation to authority. The parties

  shall use as a guide the Eleventh Circuit Pattern Jury Instructions for Civil Cases, including the

  directions to counsel contained therein. Any proposed instruction that modifies an instruction from

  the Eleventh Circuit’s Pattern Jury Instructions must both note the modification and delineate the

  modification in redline (or track changes). The parties shall submit, in MS Word format via e-mail to

  leibowitz@flsd.uscourts.gov, proposed jury instructions and verdict form, including substantive

  charges and defenses, prior to the calendar call. For instructions on filing proposed documents, please

  see http://www.flsd.uscourts.gov.

          Trial Exhibits. All trial exhibits must be pre-marked. The Plaintiff’s exhibits must be marked

  numerically with the letter “P” as a prefix; the Defendant’s exhibits must be marked numerically with

  the letter “D” as a prefix. This list must indicate the pre-marked identification label (e.g., P-1 or D-1)

  and include a brief description of the exhibit.

          Settlement Notification. If this matter is settled, counsel shall inform the Court promptly

  via telephone (954-769-5680) and/or e-mail (leibowitz@flsd.uscourts.gov).


          DONE AND ORDERED in the Southern District of Florida on May 2, 2025.




  cc: counsel of record
